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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS



     MATTHEW BARKLEY, on behalf of
     himself and all others similarly situated,                   3:24-cv-00769
                                                         Case No. __________

                                      Plaintiff,
                                                        CLASS ACTION COMPLAINT
     v.

    AT&T, INC.,                                         JURY TRIAL DEMANDED

                                      Defendant.


            Matthew Barkley (“Plaintiff”) brings this Class Action Complaint against AT&T, Inc.

(“Defendant” or “AT&T”), on behalf of himself and all others similarly situated (“Class

Members”), and alleges, upon personal knowledge as to his own actions and his counsels’

investigations, and upon information and belief as to all other matters, as follows:

                                     NATURE OF THE ACTION

            1.    Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personally identifiable information (“PII” or “Private Information”) 1 including, but

not limited to full names, email addresses, mailing addresses, phone numbers, social security




1
  Personally identifiable information generally incorporates information that can be used to
distinguish or trace an individual’s identity, either alone or when combined with other personal or
identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information that on its
face expressly identifies an individual. PII also is generally defined to include certain identifiers
that do not on its face name an individual, but that are considered to be particularly sensitive and/or
valuable if in the wrong hands (for example, Social Security numbers, passport numbers, driver’s
license numbers, financial account numbers).
                                                    1
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numbers, dates of birth, AT&T account numbers and passcodes. 2

         2.    Defendant is headquartered in Dallas, Texas. Defendant is an international

telecommunications company that provides more than 100 million U.S. consumers with

communications experiences across mobile and broadband.

         3.    To provide these services, and in the ordinary course of AT&T’s business,

Defendant acquires, possesses, analyzes, and otherwise utilizes Plaintiff’s and Class Members’

PII.

         4.    With this action, Plaintiff seeks to hold Defendant responsible for the harms it

caused and will continue to cause Plaintiff and at least 7.6 million current customers and 65.4

million former account holders have been impacted3 other similarly situated persons in the massive

and preventable cyberattack purportedly discovered by Defendant, by which cybercriminals

infiltrated Defendant’s inadequately protected network servers and accessed and exfiltrated highly

sensitive PII belonging to Plaintiff and Class Members which was being kept unprotected (the

“Data Breach”).

         5.    Plaintiff further seeks to hold Defendant responsible for not ensuring that

Defendant maintained the PII in a manner consistent with industry standards.

         6.    On or about March 30, 2024, AT&T informed many Class Members by email

notice and mail notice that their sensitive PII had been compromised (the “Notice Letter”).




2
 https://www.att.com/support/article/my-account/000101995?bypasscache=1 (last visited March
31, 2024).
3
See https://www.att.com/support/article/my-account/000101995?bypasscache=1 (last visited
March 31, 2024).
                                                2
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            7.    AT&T confirmed that Plaintiff’s and Class Members’ PII were released on the Dark

Web.4

            8.    Upon information and belief, the Data Breach occurred in 2019 but Defendant did

not begin informing victims of the Data Breach until March 30, 2024, approximately five years

later. During this time, Plaintiff and Class Members were unaware that their sensitive PII had been

compromised, and that they were, and continue to be, at significant risk of identity theft and various

other forms of personal, social, and financial harm.

            9.    By acquiring, utilizing, and benefiting from Plaintiff’s and Class Members’ PII for

its business purposes, Defendant owed or otherwise assumed common law, contractual, and

statutory duties that extended to Plaintiff and Class Members. These duties required Defendant to

design and implement adequate data security systems to protect Plaintiff’s and Class Members’

PII in its possession and to keep Plaintiff’s and Class Members’ PII confidential, safe, secure, and

protected from unauthorized disclosure, access, dissemination, or theft.

            10.   Defendant breached these duties by failing to implement adequate data security

measures and protocols to properly safeguard and protect Plaintiff’s and Class Members’ PII from

a foreseeable cyberattack on its systems that resulted in the unauthorized access and theft of

Plaintiff’s and Class Members’ PII.

            11.   Currently, the full extent of the types of PII, the scope of the breach, and the root

cause of the Data Breach are all within the exclusive control of Defendant, its agents, counsel, and

forensic security vendors at this phase of the litigation.




4
    Id.
                                                    3
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       12.     Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, and/or negligently failing to take and implement adequate and reasonable

measures to ensure that the PII of Plaintiff and Class Members was safeguarded, failing to take

available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required, and appropriate protocols, policies and procedures regarding the encryption of data, even

for internal use. As a result, the Plaintiff’s and Class Members’ PII was compromised through

disclosure to an unknown and unauthorized criminal third party.

       13.     Upon information and belief, Defendant breached its duties and obligations in one

or more of the following ways: (1) failing to design, implement, monitor, and maintain reasonable

network safeguards against foreseeable threats; (2) failing to design, implement, and maintain

reasonable data retention policies; (3) failing to adequately train staff on data security; (4) failing

to comply with industry-standard data security practices; (5) failing to warn Plaintiff and Class

Members of Defendant’s inadequate data security practices; (6) failing to encrypt or adequately

encrypt the PII; (7) failing to recognize or detect that its network had been compromised and

accessed in a timely manner to mitigate the harm; (8) failing to utilize widely available software

able to detect and prevent this type of attack, and (9) otherwise failing to secure the hardware using

reasonable and effective data security procedures free of foreseeable vulnerabilities and data

security incidents.

       14.     Based on the type of sophisticated and targeted criminal activity, the type of PII

involved, and Defendant’s admission that the PII was accessed, it can be concluded that the

unauthorized criminal third party was able to successfully target Plaintiff’s and Class Members’

PII, infiltrate and gain access to Defendant’s network, and exfiltrate Plaintiff’s and Class

Members’ PII, including full name, email address, mailing address, phone number, social security
                                                  4
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number, date of birth, AT&T account number and passcode, for the purposes of utilizing or selling

the PII for use in future fraud and identity theft related cases.

        15.     As a result of Defendant’s failures and the Data Breach, Plaintiff’s and Class

Members’ identities are now at a current and substantial imminent and ongoing risk of identity

theft and shall remain at risk for the rest of their lives.

        16.     As a result of the Data Breach, Plaintiff and Class Members must now closely

monitor their financial accounts to guard against future identity theft and fraud. Plaintiff and Class

Members have heeded such warnings to mitigate against the imminent risk of future identity theft

and financial loss. Such mitigation efforts included and will include into the future: (a) reviewing

financial statements; (b) changing passwords; and (c) signing up for credit and identity theft

monitoring services. The loss of time and other mitigation costs are tied directly to guarding against

and mitigating against the imminent risk of identity theft.

        17.     Plaintiff and Class Members have suffered numerous actual and concrete injuries

as a direct result of the Data Breach, including: (a) financial costs incurred mitigating the

materialized risk and imminent threat of identity theft; (b) loss of time and loss of productivity

incurred mitigating the materialized risk and imminent threat of identity theft; (c) financial costs

incurred due to actual identity theft; (d) loss of time incurred due to actual identity theft; (e) loss

of time heeding Defendant’s warnings; (g) deprivation of value of their PII; (h) invasions of their

privacy; and (i) the continued risk to their PII, which remains in the possession of Defendant, and

which is subject to further breaches, so long as Defendant fail to undertake appropriate and

adequate measures to protect it.

        18.     Plaintiff brings this action on behalf of all persons whose PII was compromised due

to Defendant’s failure to adequately protect Plaintiff’s and Class Members’ PII.
                                                    5
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                                             PARTIES

        19.     Plaintiff Matthew Barkley is an adult individual and, at all relevant times herein, a

resident and citizen of the state of New York, residing in Lisbon, New York.

        20.     Defendant AT&T, Inc. is a Texas corporation with its principal place of business

at 208 South Akard Street, Dallas, Texas. AT&T’s registered agent is CT Corporation System,

1999 Bryan ST., Ste. 900, Dallas, Texas 75201.

                                   JURISDICTION AND VENUE

        21.     This Court has subject matter jurisdiction over this action under 28 U.S.C.§ 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed class,

and at least one member of the class, including Plaintiff March, is a citizen of a state different from

Defendant.

        22.     This Court has general personal jurisdiction over Defendant AT&T because

Defendant’s principal place of business is in this District and the acts and omissions giving rise to

Plaintiff’s claims occurred in and emanated from this District.

        23.     Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant’s principal place

of business is in this District.

                                   FACTUAL ALLEGATIONS

        Background

        24.     Defendant      AT&T     is   an   international   telecommunications      corporation

headquartered in Dallas, Texas. AT&T offers mobile communication services and broadband

connectivity to millions of residential and business customers.



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            25.    Defendant’s Privacy Policy, posted on its website, states that AT&T “We work hard

to safeguard your information using technology controls and organizational controls. We protect

our computer storage and network equipment. We require employees to authenticate themselves

to access sensitive data. We limit access to personal information to the people who need access for

their jobs. And we require callers and online users to authenticate themselves before we provide

account information.5

            26.    Defendant Privacy Policy also indicates that, “If a breach occurs, we’ll notify you

as required by law.”6

            27.    Indeed, Defendant has made numerous misleading representations that it would

adequately protect Plaintiff’s and Class Members’ sensitive PII, but has failed to do so.

            Defendant Acquires, Collects, and Stores the PII of Plaintiff and Class Members

            28.    In the ordinary course of its business, AT&T maintains the PII of its customers,

current and past employees, consumers, and others.

            29.    Because of the highly sensitive and personal nature of the information Defendant

acquires and stores with respect to consumers, Defendant, upon information and belief, promises

to, among other things: keep protected information private; comply with insurance industry

standards related to data security and PII, inform consumers of its legal duties and comply with all

federal and state laws protecting consumer PII; only use and release PII for reasons that relate to

medical care and treatment, and, provide adequate notice to individuals if their PII is disclosed

without authorization.




5
    Privacy Policy, https://about.att.com/privacy/privacy-notice.html (last visited Mar 31, 2024).
6
    Id.
                                                    7
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            30.   At every step, Defendant holds onto sensitive PII and has a duty to protect that PII

from unauthorized access.

            31.   By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII, Defendant assumed legal and equitable duties and knew or should have known that

it was responsible for protecting Plaintiff’s and Class Members’ PII from unauthorized disclosure.

            32.   Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their PII.

            33.   Plaintiff and Class Members relied on Defendant to implement and follow adequate

data security policies and protocols, to keep their PII confidential and securely maintained, to use

their PII solely for proper business services and purposes, and to prevent the unauthorized

disclosure of their PII.

            The Cyberattack and Data Breach

            34.   AT&T detected unauthorized access to certain computer systems within its network

environment.7

            35.   AT&T took precautionary measures and reset passcodes, as an extra layer of

protection for AT&T accounts.8

            36.   Through its investigation, AT&T determined that the data of 7.6 million current

AT&T account holders and 65.4 million former account holders. 9

            37.   Upon information and belief, Plaintiff’s and Class Members’ PII was exfiltrated



7
 See https://www.att.com/support/article/my-account/000101995?bypasscache=1 (last visited
March 31, 2024).
8
    Id.
9
    Id.
                                                   8
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and stolen in the attack.

           38.   Furthermore, the investigation determined that the accessed systems contained PII.

Upon information and belief, this PII was accessible, unencrypted, unprotected, and vulnerable to

acquisition and/or exfiltration by the unauthorized actor.

           39.   The type of PII accessed by the unauthorized actor in the Data Breach includes full

name, email address, mailing address, phone number, social security number, date of birth, AT&T

account number and passcode.10

           40.   Defendant had obligations created by contract, industry standards, common law,

and its own promises and representations to keep Plaintiff’s and Class Members’ PII confidential

and to protect it from unauthorized access and disclosure.

           41.   Plaintiff and Class Members provided their PII directly, or indirectly, to Defendant

with the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access.

           42.   Beginning on or around March 30, 2024, Defendant issued Notice Letters by email

and mail to Class Members. In total, at least seventy-three million individuals were impacted by

the Data Breach.11

           43.   The Notice Letters sent to Class Members stated PII, including full names, email

addresses, mailing addresses, phone numbers, social security numbers, dates of birth, AT&T

account numbers and passcodes were accessed and exfiltrated in the Data Breach.




10
     Id.
11
     See Id.
                                                  9
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       44.     As a result of the Data Breach, Plaintiff and seventy-three million Class Members

suffered ascertainable losses in the form of the loss of the benefit of their bargain, out-of-pocket

expenses, and the value of their time reasonably incurred to remedy or mitigate the effects of the

attack and the substantial and imminent risk of identity theft.

       45.     Defendant waited approximately five years to disclose the Data Brach to Plaintiff

and Class Members, and only did so after the PII belonging to Plaintiff and Class Members were

posted by cyber criminals on the Dark Web. As a result of this delay, Plaintiff and Class Members

had no idea their PII had been compromised in the Data Breach, and that they were, and continue

to be, at significant risk of identity theft and various other forms of personal, social, and financial

harm. The risk will remain for their respective lifetimes.

       46.     Defendant’s failure to timely detect and report the Data Breach made its consumers

vulnerable to identity theft without any warnings to monitor their financial accounts or credit

reports to prevent unauthorized use of their PII.

       47.     This PII was compromised due to Defendant’s negligent and/or careless acts and

omissions and the failure to protect the PII of Plaintiff and Class Members.

       48.     Despite recognizing its duty to do so, on information and belief, Defendant has not

implemented reasonable cybersecurity safeguards or policies to protect its consumers’ PII or

trained its IT or data security employees to prevent, detect, and stop breaches of its systems. As a

result, Defendant leaves significant vulnerabilities in its systems for cybercriminals to exploit and

gain access to consumers’ PII.

       49.     Plaintiff and Class Members directly or indirectly entrusted Defendant with

sensitive and confidential information, including their PII which includes information that is static,

does not change, and can be used to commit myriad financial crimes.
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       50.       Plaintiff and Class Members relied on Defendant to keep their PII confidential and

securely maintained, to use their PII for authorized purposes only, and to make only authorized

disclosures of this information. Plaintiff and Class Members demand Defendant safeguard their

PII.

       51.       The unencrypted PII of Plaintiff and Class Members will likely end up for sale on

the dark web as that is the modus operandi of hackers. In addition, unencrypted PII may fall into

the hands of companies that will use the detailed PII for targeted marketing without the approval

of Plaintiff and Class Members. In turn, unauthorized individuals can easily access the PII of

Plaintiff and Class Members.

       52.       Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive, unencrypted information they were maintaining for Plaintiff and Class

Members, causing the exposure of PII.

       The Data Breach Was Foreseeable

       53.       Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in the finance industry preceding the date

of the breach.

       54.       In light of recent high profile data breaches at other large corporations that collect

and maintain voluminous amounts of PII, AT&T knew or should have known that its electronic

records and the PII that it stored and maintained would be targeted by cybercriminals and

ransomware attack groups.

       55.       In 2021, a record 1,862 data breaches occurred, resulting in approximately




                                                  11
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293,927,708 sensitive records being exposed, a 68% increase from 2020. 12

        56.     Indeed, cyberattacks on telecommunications companies like AT&T have become

so notorious that the FBI and U.S. Secret Service have issued a warning to potential targets, so

they are aware of, and prepared for, potential attack.13

        Defendant had an Obligation to Protect the PII

        57.    Defendant’s failure to adequately secure Plaintiff’s and Class Members’ PII

breaches duties it owes Plaintiff and Class Members under statutory and common law. Moreover,

Plaintiff and Class Members surrendered their highly sensitive personal data to Defendant under

the implied condition that Defendant would keep it private and secure. Accordingly, Defendants

also Has an implied duty to safeguard Its data, independent of any statute.

        58.    Defendant was prohibited by the Federal Trade Commission Act (the “FTC Act”)

(15 U.S.C. § 45) from engaging in “unfair or deceptive acts or practices in or affecting commerce.”

The Federal Trade Commission (the “FTC”) has concluded that a company’s failure to maintain

reasonable and appropriate data security for consumers’ sensitive personal information is an

“unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp., 799

F.3d 236 (3d Cir. 2015).

        59.    Therefore, the increase in such attacks, and the attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.

        60.    In addition to its obligations under federal and state laws, Defendant owed a duty


12
    See 2021 Data Breach Annual Report, ITRC 6 (Jan.                          2022),   available   at
https://www.idtheftcenter.org/notified (last visited March 31, 2024).
13
      FBI, Secret Service Warn of Targeted, Law360 (Nov. 18, 2019),
https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-targeted-ransomware (last
visited March 31, 2024).
                                                 12
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to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the PII in Defendant’s possession from being compromised,

lost, stolen, accessed, and misused by unauthorized persons. Defendant owed a duty to Plaintiff

and Class Members to provide reasonable security, including consistency with industry standards

and requirements, and to ensure that its computer systems, networks, and protocols adequately

protected the PII of Plaintiff and Class Members.

       61.     Defendant owed a duty to Plaintiff and Class Members to design, maintain, and test

its computer systems, servers, and networks to ensure that the PII in its possession was adequately

secured and protected.

       62.     Defendant owed a duty to Plaintiff and Class Members to create and implement

reasonable data security practices and procedures to protect the PII in its possession, including not

sharing information with other entities who maintained substandard data security systems.

       63.     Defendant owed a duty to Plaintiff and Class Members to implement processes that

would immediately detect a breach on its data security systems in a timely manner.

       64.     Defendant owed a duty to Plaintiff and Class Members to act upon data security

warnings and alerts in a timely fashion.

       65.     Defendant owed a duty to Plaintiff and Class Members to disclose if its computer

systems and data security practices were inadequate to safeguard individuals’ PII from theft

because such an inadequacy would be a material fact in the decision to entrust this PII to

Defendant.

       66.     Defendant owed a duty of care to Plaintiff and Class Members because they were

foreseeable and probable victims of any inadequate data security practices.

       67.     Defendant owed a duty to Plaintiff and Class Members to encrypt and/or more
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reliably encrypt Plaintiff’s and Class Members’ PII and monitor user behavior and activity in order

to identify possible threats.

         68.    At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

         69.    Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to, at least, tens of thousands of

individuals’ PII, and, thus, the significant number of individuals who would be harmed by the

exposure of the unencrypted data.

         Value of PII

         70.    The PII of individuals remains of high value to criminals, as evidenced by the prices

criminals will pay through the Dark Web. Numerous sources cite Dark Web pricing for stolen

identity credentials. For example, personal information can be sold at a price ranging from $40 to

$200, and bank details have a price range of $50 to $200.14 Experian reports that a stolen credit or

debit card number can sell for $5 to $110 on the dark web. 15 Criminals can also purchase access

to entire company data breaches from $900 to $4,500. 16


14
  Anita George, Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends (Oct. 16, 2019), https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last visited March 31, 2024).
15
  Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark Web,
Experian (Dec. 6, 2017), https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last visited March 31, 2024).
16
     In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-

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        71.    Based on the foregoing, the information compromised in the Data Breach, including

full names matched with Social Security numbers, is significantly more valuable than the loss of,

for example, credit card information in a retailer data breach because, there, victims can cancel or

close credit and debit card accounts. The information compromised in this Data Breach is

impossible to “close” and difficult, if not impossible, to change.

        72.    This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.”17

        73.    Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

        74.    The fraudulent activity resulting from the Data Breach may not come to light for

years as there may be a time lag between when harm occurs versus when it is discovered, and also

between when the PII is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data has been sold or posted on the Web, fraudulent use of that information may
        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm. 18


browsing/in-the-dark/ (last visited March 31, 2024).
17
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers,          IT        World,       (Feb.         6,       2015),   available        at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last visited March 31, 2024).
18
    Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last visited March 31, 2024).
                                                 15
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       75.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, including Social Security

numbers, and of the foreseeable consequences that would occur if Defendant’s data security

system was breached, including, specifically, the significant costs that would be imposed on

Plaintiff and Class Members as a result of a breach.

       76.     Plaintiff and Class Members now face a lifetime of constant surveillance of their

financial and personal records, credit monitoring, and loss of rights. Class Members are incurring

and will continue to incur such damages in addition to any fraudulent use of their PII.

       77.     Defendant has acknowledged the risk and harm caused to Plaintiff and Class

Members as a result of the Data Breach and encouraged Plaintiff and Class Members to remain

vigilant by monitoring account activity and credit reports.

       Defendant Failed to Properly Protect Plaintiff’s and Class Members’ PII

       78.     Defendant could have prevented this Data Breach by properly securing and

encrypting the systems containing the PII of Plaintiff and Class Members. Alternatively,

Defendant could have destroyed the data, especially for individuals with whom it had not had a

relationship for a period of time.

       79.     Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to companies like Defendant to protect

and secure sensitive data they possess.

       80.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

       81.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud
                                                16
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committed or attempted using the identifying information of another person without authority.”

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 19

        82.    The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen, fraudulent use of that information and

damage to victims may continue for their respective lifetimes.

        83.    To prevent and detect unauthorized cyber-attacks, Defendant could and should

have implemented, as recommended by the United States Government, the following measures:

                       Implement an awareness and training program. Because end users are
                        targets, employees and individuals should be aware of the threat of
                        ransomware and how it is delivered.

                       Enable strong spam filters to prevent phishing emails from reaching the
                        end users and authenticate inbound email using technologies like Sender
                        Policy Framework (SPF), Domain Message Authentication Reporting and
                        Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
                        prevent email spoofing.

                       Scan all incoming and outgoing emails to detect threats and filter
                        executable files from reaching end users.

                       Configure firewalls to block access to known malicious IP addresses.

                       Patch operating systems, software, and firmware on devices. Consider
                        using a centralized patch management system.

                       Set anti-virus and anti-malware programs to conduct regular scans

19
   See generally Fighting Identity Theft With the Red Flags Rule: A How-To Guide for Business,
FED. TRADE COMM., https://www.ftc.gov/business-guidance/resources/fighting-identity-theft-red-
flags-rule-how-guide-business (last visited March 31, 2024).
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                           automatically.

                          Manage the use of privileged accounts based on the principle of least
                           privilege: no users should be assigned administrative access unless
                           absolutely needed; and those with a need for administrator accounts should
                           only use them when necessary.

                          Configure access controls—including file, directory, and network share
                           permissions—with least privilege in mind. If a user only needs to read
                           specific files, the user should not have write access to those files,
                           directories, or shares.

                          Disable macro scripts from office files transmitted via email. Consider
                           using Office Viewer software to open Microsoft Office files transmitted
                           via email instead of full office suite applications.

                          Implement Software Restriction Policies (SRP) or other controls to prevent
                           programs from executing from common ransomware locations, such as
                           temporary folders supporting popular Internet browsers or
                           compression/decompression          programs,         including         the
                           AppData/LocalAppData folder.

                          Consider disabling Remote Desktop protocol (RDP) if it is not being used.

                          Use application whitelisting, which only allows systems to execute
                           programs known and permitted by security policy.

                          Execute operating system environments or specific programs in a
                           virtualized environment.

                          Categorize data based on organizational value and implement physical and
                           logical separation of networks and data for different organizational units.20

          84.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the United

States Cybersecurity & Infrastructure Security Agency, the following measures:

               Update and patch your computer. Ensure your applications and operating systems
                (OSs) have been updated with the latest patches. Vulnerable applications and OSs are
                the target of most ransomware attacks….

               Use caution with links and when entering website addresses. Be careful when
20
     Id. at 3-4.
                                                    18
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              clicking directly on links in emails, even if the sender appears to be someone you
              know. Attempt to independently verify website addresses (e.g., contact your
              organization’s helpdesk, search the internet for the sender organization’s website or
              the topic mentioned in the email). Pay attention to the website addresses you click on,
              as well as those you enter yourself. Malicious website addresses often appear almost
              identical to legitimate sites, often using a slight variation in spelling or a different
              domain (e.g., .com instead of .net).

             Open email attachments with caution. Be wary of opening email attachments, even
              from senders you think you know, particularly when attachments are compressed files
              or ZIP files.

             Keep your personal information safe. Check a website’s security to ensure the
              information you submit is encrypted before you provide it….

             Verify email senders. If you are unsure whether or not an email is legitimate, try to
              verify the email’s legitimacy by contacting the sender directly. Do not click on any
              links in the email. If possible, use a previous (legitimate) email to ensure the contact
              information you have for the sender is authentic before you contact them.

             Inform yourself. Keep yourself informed about recent cybersecurity threats and up to
              date on ransomware techniques. You can find information about known phishing
              attacks on the Anti-Phishing Working Group website. You may also want to sign up
              for CISA product notifications, which will alert you when a new Alert, Analysis
              Report, Bulletin, Current Activity, or Tip has been published.

             Use and maintain preventative software programs. Install antivirus software,
              firewalls, and email filters—and keep them updated—to reduce malicious network
              traffic….21

        85.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendants could and should have implemented, as recommended by the Microsoft

Threat Protection Intelligence Team, the following measures:

        Secure internet-facing assets

                    Apply latest security updates;
                    Use threat and vulnerability management;
                    Perform regular audit; remove privileged credentials;

21
   See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11,
2019), available at https://www.cisa.gov/news-events/news/protecting-against-ransomware (last
visited March 31, 2024).
                                                  19
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        Thoroughly investigate and remediate alerts

                   Prioritize and treat commodity malware infections as potential full
                    compromise;

        Include IT Pros in security discussions

                   Ensure collaboration among [security operations], [security admins], and
                    [information technology] admins to configure servers and other endpoints
                    securely;

        Build credential hygiene

                   Use [multifactor authentication] or [network level authentication] and use
                    strong, randomized, just-in-time local admin passwords;

        Apply principle of least-privilege

                   Monitor for adversarial activities;
                   Hunt for brute force attempts;
                   Monitor for cleanup of Event Logs;
                   Analyze logon events;

        Harden infrastructure

                   Use Windows Defender Firewall;
                   Enable tamper protection;
                   Enable cloud-delivered protection;
                   Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                    Office [Visual Basic for Applications].22

        86.     Moreover, given that Defendant was storing the PII of Plaintiff and Class Members,

Defendant could and should have implemented all of the above measures to prevent and detect

cyberattacks.

        87.     The occurrence of the Data Breach indicates that Defendant failed to adequately


22
   See Human-operated ransomware attacks: A preventable disaster, Microsoft (Mar. 5, 2020).
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/ (last visited March 31, 2024).
                                                20
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implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII of Plaintiff and Class Members.

        88.        As a result of computer systems in need of security upgrades, inadequate

procedures for handling email phishing attacks, viruses, malignant computer code, hacking attacks,

Defendant negligently and unlawfully failed to safeguard Plaintiff’s and Class Members’ PII.

        89.        Because Defendant failed to properly protect and safeguard Plaintiff’s and Class

Members’ PII, an unauthorized third party was able to access Defendant’s network, and access

Defendant’s database and system configuration files and exfiltrate that data.

        Defendants Failed to Comply with Industry Standards

        90.        As shown above, experts studying cyber security routinely identify companies in

the Telecommunications industry as being particularly vulnerable to cyberattacks because of the

value of the PII which they collect and maintain.

        91.        Several best practices have been identified that at a minimum should be

implemented by Telecommunications service providers like Defendant, including, but not limited

to: educating all employees; strong passwords; multi-layer security, including firewalls, anti-virus,

and anti-malware software; encryption, making data unreadable without a key; multi-factor

authentication; backup data; and limiting which employees can access sensitive data.

        92.        Other best cybersecurity practices that are standard in the Telecommunications

industry include installing appropriate malware detection software; monitoring and limiting the

network ports; protecting web browsers and email management systems; setting up network

systems such as firewalls, switches, and routers; monitoring and protection of physical security

systems; protection against any possible communication system; and training staff regarding

critical points.
                                                  21
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       93.      Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       94.      The foregoing frameworks are existing and applicable industry standards in the

Telecommunications services industry, and Defendant failed to comply with these accepted

standards, thereby opening the door to and causing the Data Breach.

       95.      Upon information and belief, Defendant failed to comply with one or more of the

foregoing industry standards.

       Defendant’s Negligent Acts and Breaches

       96.      Defendant participated in and controlled the process of gathering the PII from

Plaintiff and Class Members.

       97.      Defendant therefore assumed and otherwise owed duties and obligations to Plaintiff

and Class Members to take reasonable measures to protect the information, including the duty of

oversight, training, instruction, testing of the data security policies and network systems.

Defendant breached these obligations to Plaintiff and Class Members and/or was otherwise

negligent because it failed to properly implement data security systems and policies for its

Telecommunications services network that would adequately safeguard Plaintiff’s and Class

Members’ PII. Upon information and belief, Defendant’s unlawful conduct included, but is not

limited to, one or more of the following acts and/or omissions:

             a. Failing to design and maintain an adequate data security system to reduce the risk
                                                22
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                of data breaches and protect Plaintiff’s and Class Members’ PII;

             b. Failing to properly monitor its data security systems for data security vulnerabilities
                and risk;

             c. Failing to test and assess the adequacy of its data security system;

             d. Failing to develop adequate training programs related to the proper handling of
                emails and email security practices;

             e. Failing to develop and put into place uniform procedures and data security
                protections for its network;

             f. Failing to adequately fund and allocate resources for the adequate design, operation,
                maintenance, and updating necessary to meet industry standards for data security
                protection;

             g. Failing to ensure or otherwise require that it was compliant with FTC guidelines
                for cybersecurity;

             h. Failing to ensure or otherwise require that it was adhering to one or more of industry
                standards for cybersecurity discussed above;

             i. Failing to implement or update antivirus and malware protection software in need
                of security updating;

             j. Failing to require encryption or adequate encryption on its data systems;

             k. Otherwise negligently and unlawfully failing to safeguard Plaintiff’s and Class
                Members’ PII provided to Defendant, which in turn allowed cyberthieves to access
                its IT systems.

                              COMMON INJURIES & DAMAGES

       98.      As result of Defendant’s ineffective and inadequate data security practices, Plaintiff

and Class Members now face a present and ongoing risk of fraud and identity theft.

       99.      Due to the Data Breach, and the foreseeable consequences of PII ending up in the

possession of criminals, the risk of identity theft to Plaintiff and Class Members has materialized

and is imminent, and Plaintiff and Class Members have all sustained actual injuries and damages,

including: (a) invasion of privacy; (b) “out of pocket” costs incurred mitigating the materialized
                                                  23
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risk and imminent threat of identity theft; (c) loss of time and loss of productivity incurred

mitigating the materialized risk and imminent threat of identity theft risk; (d) “out of pocket” costs

incurred due to actual identity theft; (e) loss of time incurred due to actual identity theft; (f) loss

of time due to increased spam and targeted marketing emails; (g) the loss of benefit of the bargain

(price premium damages); (h) diminution or loss of value of their PII; and (i) the continued risk to

their PII, which remains in Defendant’s possession, and which is subject to further breaches, so

long as Defendant fail to undertake appropriate and adequate measures to protect Plaintiff’s and

Class Members’ PII.

        The Risk of Identity Theft to Plaintiff and Class Members Is Present and Ongoing

        100.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the

data by selling the stolen information on the black market to other criminals who then utilize the

information to commit a variety of identity theft related crimes discussed below.

        101.    Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        102.    For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data breaches are
                                                  24
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often the starting point for these additional targeted attacks on the victims.

           103.   The Dark Web is an unindexed layer of the internet that requires special software

or authentication to access.23 Criminals in particular favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, Dark Web

users need to know the web address of the website they wish to visit in advance. For example, on

the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion. 24 This prevents Dark Web

marketplaces from being easily monitored by authorities or accessed by those not in the know.

           104.   A sophisticated black market exists on the dark web where criminals can buy or

sell malware, firearms, drugs, and frequently, personal and medical information like the PII at

issue here.25 The digital character of PII stolen in data breaches lends itself to dark web transactions

because it is immediately transmissible over the internet and the buyer and seller can retain their

anonymity. The sale of a firearm or drugs on the other hand requires a physical delivery address.

Nefarious actors can readily purchase usernames and passwords for online streaming services,

stolen financial information and account login credentials, and Social Security numbers, dates of

birth, and medical information.26 As Microsoft warns “[t]he anonymity of the dark web lends itself




23
  Louis DeNicola, What Is the Dark Web?, Experian (May 12, 2021),
https://www.experian.com/blogs/ask-experian/what-is-the-dark-web/ (last visited March 31,
2024).
24
     Id.
25
   What is the Dark Web? – Microsoft 365 (July 15, 2022), https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web (last visited March 31,
2024).
26
     Id.; see also Louis DeNicola, supra note 25.
                                                    25
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well to those who would seek to do financial harm to others.” 27

           105.   Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to numerous serious fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the loss of

an individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

                  A dishonest person who has your Social Security number can use it to get
                  other personal information about you. Identity thieves can use your number
                  and your good credit to apply for more credit in your name. Then, they use
                  the credit cards and do not pay the bills, it damages your credit. You may
                  not find out that someone is using your number until you are turned down
                  for credit, or you begin to get calls from unknown creditors demanding
                  payment for items you never bought. Someone illegally using your Social
                  Security number and assuming your identity can cause a lot of problems. 28

                  What is more, it is no easy task to change or cancel a stolen Social Security
                  number. An individual cannot obtain a new Social Security number without
                  significant paperwork and evidence of actual misuse. In other words,
                  preventive action to defend against the possibility of misuse of a Social
                  Security number is not permitted; an individual must show evidence of
                  actual, ongoing fraud activity to obtain a new number.

           106.   Even then, a new Social Security number may not be effective, as “[t]he credit

bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.” 29

           107.   Identity thieves can also use Social Security numbers to obtain a driver’s license or



27
     Id.
28
   Social Security Administration, Identity Theft and Your Social Security Number (2021),
available at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited March 31, 2024).
29
  Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft (last visited March 31, 2024).
                                                   26
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official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name. And the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines. 30

           108.   According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims. 31

           109.   Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good.” 32 Defendant did not rapidly

report to Plaintiff and Class Members that their PII had been stolen.

           110.   Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

           111.   In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims have to spend a considerable time repairing the

damage caused by the theft of their PII. Victims of new account identity theft will likely have to


30
   Identity Theft and Your Social Security Number, Social Security Administration, 1 (2021),
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited March 31, 2024).
31
   See 2019 Internet Crime Report, FBI (Feb. 11, 2020), https://www.fbi.gov/news/stories/2019-
internet-crime-report-released-021120 (last visited March 31, 2024).
32
     Id.
                                                  27
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spend time correcting fraudulent information in their credit reports and continuously monitor their

reports for future inaccuracies, close existing bank/credit accounts, open new ones, and dispute

charges with creditors.

        112.   Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen PII. To protect themselves, Plaintiff and Class

Members will need to remain vigilant against unauthorized data use for years or even decades to

come.

        113.   The Federal Trade Commission (“FTC”) has also recognized that consumer data is

a new and valuable form of currency. In an FTC roundtable presentation, former Commissioner

Pamela Jones Harbour stated that “most consumers cannot begin to comprehend the types and

amount of information collected by businesses, or why their information may be commercially

valuable. Data is currency. The larger the data set, the greater potential for analysis and profit.” 33

        114.   The FTC has also issued numerous guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires: (1)

encrypting information stored on computer networks; (2) retaining payment card information only

as long as necessary; (3) properly disposing of personal information that is no longer needed; (4)

limiting administrative access to business systems; (5) using industry-tested and accepted methods

for securing data; (6) monitoring activity on networks to uncover unapproved activity; (7)

verifying that privacy and security features function properly; (8) testing for common



33
   Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring
Privacy           Roundtable),           FTC            (Dec.              7,           2009),
http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last visited March 31, 2024).
                                                  28
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vulnerabilities; and (9) updating and patching third-party software. 34

        115.   According to the FTC, unauthorized PII disclosures are extremely damaging to

consumers’ finances, credit history and reputation, and can take time, money, and patience to

resolve the fallout. The FTC treats the failure to employ reasonable and appropriate measures to

protect against unauthorized access to confidential consumer data as an unfair act or practice

prohibited by Section 5(a) of the FTC Act. 35

        116.   Defendant’s failure to properly notify Plaintiff and Class Members of the Data

Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their PII and take other necessary steps to mitigate the harm

caused by the Data Breach.

        Loss of Time to Mitigate the Risk of Identify Theft and Fraud

        117.   As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their PII was compromised, as in this Data Breach, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft or fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

        118.   Thus, due to Defendant’s admitted recognition of the actual and imminent risk of

identity theft, Defendant has encouraged customers to remain vigilant by monitoring account



34
      See    generally    https://www.ftc.gov/business-guidance/resources/protecting-personal-
information-guide-business (last visited March 31, 2024).
35
     See, e.g., Protecting Personal Information: A Guide for Business, FTC,
https://www.ftc.gov/news-events/news/press-releases/2016/07/commission-finds-labmd-liable-
unfair-data-security-practices (last visited March 31, 2024).
                                                 29
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activity and credit reports and to set up free fraud alerts with Equifax, Experian, and TransUnion.

        119.    Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting

agencies, contacting financial institutions, closing or modifying financial accounts, changing

passwords, reviewing and monitoring credit reports and accounts for unauthorized activity, and

filing police reports, which may take years to discover and detect.

        120.    Plaintiff’s mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO Report”) in

which it noted that victims of identity theft will face “substantial costs and time to repair the

damage to their good name and credit record.” 36

        121.    Plaintiff’s mitigation efforts are also consistent with the steps that FTC

recommends that data breach victims take to protect their personal and financial information after

a data breach, including: contacting one of the credit bureaus to place a fraud alert (and consider

an extended fraud alert that lasts for seven years if someone steals their identity), reviewing their

credit reports, contacting companies to remove fraudulent charges from their accounts, placing a

credit freeze on their credit, and correcting their credit reports. 37

        122.    A study by Identity Theft Resource Center shows the multitude of harms caused by

fraudulent use of personal and financial information:38


36
   See U.S. GOV’T ACCOUNTABILITY OFF., GAO-07-737, PERSONAL INFORMATION: DATA
BREACHES ARE FREQUENT, BUT EVIDENCE OF RESULTING IDENTITY THEFT IS LIMITED; HOWEVER,
THE     FULL EXTENT IS UNKNOWN               (2007)     (“GAO      Report”), available at
https://www.gao.gov/new.items/d07737.pdf (last visited March 31, 2024).
37
     See Federal Trade Commission, IdentityTheft.gov, https://www.identitytheft.gov/Steps (last
visited March 31, 2024).
38
      “Credit   Card    and     ID    Theft    Statistics”   by    Jason     Steele,   10/24/2017,   at:

                                                   30
     Case 3:24-cv-00769-N Document 1 Filed 04/01/24               Page 31 of 57 PageID 31




        123.    Indeed, the FTC recommends that identity theft victims take several steps and spend

time to protect their personal and financial information after a data breach, including contacting

one of the credit bureaus to place a fraud alert (consider an extended fraud alert that lasts for 7

years if someone steals their identity), reviewing their credit reports, contacting companies to

remove fraudulent charges from their accounts, placing a credit freeze on their credit, and

correcting their credit reports.39

        Diminution of Value of the PII




https://web.archive.org/web/20190304002224/https://www.creditcards.com/credit-card-
news/credit-card-security-id-theft-fraud-statistics-1276.php (last visited March 31, 2024).
39
   See Federal Trade Commission, IdentityTheft.gov, https://www.identitytheft.gov/Steps (last
visited March 31, 2024).
                                                31
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        124.   PII is a valuable property right.40 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII has

considerable market value.

        125.   For example, drug manufacturers, medical device manufacturers, pharmacies,

hospitals, and other healthcare service providers often purchase PII/PHI on the black market for

the purpose of target-marketing their products and services to the physical maladies of the data

breach victims themselves.

        126.   PII can sell for as much as $363 per record according to the Infosec Institute. 41

        127.   Medical information is especially valuable to identity thieves. Cybersecurity firm

Trustwave calculated the black-market value of medical records at $250 each. 42

        128.   An active and robust legitimate marketplace for PII also exists. In 2019, the data

brokering industry was worth roughly $200 billion.43 In fact, the data marketplace is so

sophisticated that consumers can actually sell their non-public information directly to a data broker




40
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
41
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
(last visited March 31, 2024).
42
  Paul Ndrag, Medical records are the hottest items on the dark web, Fierce Healthcare (Jan. 26,
2021), https://www.fiercehealthcare.com/hospitals/industry-voices-forget-credit-card-numbers-
medical-records-are-hottest-items-dark-web (last visited March 31, 2024).
43
   David Lazarus, Column: Shadowy data brokers make the most of their invisibility cloak, LA
Times (Nov. 5, 2019), https://www.latimes.com/business/story/2019-11-05/column-data-brokers
(last visited March 31, 2024).
                                                 32
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who in turn aggregates the information and provides it to marketers or app developers. 44, 45

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50.00 a year.46

          129.   As a result of the Data Breach, Plaintiff’s and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished in

its value by its unauthorized and potential release onto the Dark Web, where it may soon be

available and holds significant value for the threat actors.

          Future Cost of Credit and Identity Theft Monitoring Is Reasonable and
          Necessary

          130.   To date, Defendant has done little to provide Plaintiff and Class Members with

relief for the damages they have suffered as a result of the Data Breach.

          131.   Defendant only encourages Plaintiff and Class Members to remain vigilant by

monitoring account activity and credit reports and to sign up for free fraud alerts from nationwide

credit bureaus — Equifax, Experian, and TransUnion. Defendant also places the burden squarely

on Plaintiff and Class Members by requiring them to independently sign up for that service.

          132.   Given the type of targeted attack in this case and sophisticated criminal activity, the

type of PII, and the modus operandi of cybercriminals, there is a strong probability that entire

batches of stolen information have been placed, or will be placed, on the black market/Dark Web

for sale and purchase by criminals intending to utilize the PII for identity theft crimes – e.g.,

opening bank accounts in the victims’ names to make purchases or to launder money; file false tax


44
     https://datacoup.com/.
45
     https://digi.me/what-is-digime/.
46
    Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last visited March 31, 2024).
                                                   33
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returns; take out loans or lines of credit; or file false unemployment claims.

        133.    It must be noted there may be a substantial time lag – measured in years – between

when harm occurs versus when it is discovered, and also between when PII and/or financial

information is stolen and when it is used.

        134.    Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her Social Security Number was used to file

for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        135.    Furthermore, the information accessed and disseminated in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach, where victims can easily cancel or close credit and debit card accounts. 47 The information

disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change

(such as Social Security numbers).

        136.    Consequently, Plaintiff and Class Members are at a present and ongoing risk of

fraud and identity theft for many years into the future.

        137.    The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year, or more, per Class Member. This is a reasonable and necessary cost to protect Class

Members from the risk of identity theft that arose from Defendant’s Data Breach. This is a future

cost for a minimum of five years that Plaintiff and Class Members would not need to bear but for


47
  See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds,
FORBES (Mar. 25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-
security-number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1 (last visited
March 31, 2024
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Defendant’s failure to safeguard their PII.

        Injunctive Relief Is Necessary to Protect against Future Data Breaches

        138.    Moreover, Plaintiff and Class Members have an interest in ensuring that their PII,

which is believed to remain in the possession of Defendant, is protected from further breaches by

the implementation of security measures and safeguards, including but not limited to, making sure

that the storage of data or documents containing PII is not accessible online and that access to such

data is password protected.

                      Plaintiff’s Matthew Barkley’s Individual Experience

        139.    At the time of the Data Breach, Defendant retained Plaintiff Barkley’s PII in its

system.

        140.    In order to obtain services from AT&T, Plaintiff Barkley was required to provide

his Private Information to AT&T.

        141.    Upon information and belief, Plaintiff Barkley’s Private Information was involved

in the Data Breach.

        142.    As a result of the Data Breach, Plaintiff Barkley made reasonable efforts to

mitigate the impact of the Data Breach, including, but not limited to, monitoring his financial

accounts, implementing extra security on his computers, resetting automatic billing instructions

tied to compromised accounts, and signing up for credit card monitoring. Plaintiff Barkley has

spent significant time dealing with the Data Breach, valuable time Plaintiff otherwise would have

spent on other activities, including but not limited to work and/or recreation. This time has been

lost forever and cannot be recaptured.

        143.    Plaintiff Barkley suffered actual injury from having his PII compromised as a

result of the Data Breach, including, but not limited to: (i) invasion of privacy; (ii) theft of his PII;
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(iii) lost or diminished value of his PII; (iv) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity cost associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to his PII, which: (a) remains unencrypted and available for unauthorized

third parties to access and abuse; and (b) remains backed up in AT&T's possession and is subject

to further unauthorized disclosures so long as AT&T fails to undertake appropriate and adequate

measures to protect the PII.

        144.    After the Data Breach, Plaintiff Barkley has received an influx of spam messages

that have unduly harassed Plaintiff.

        145.    The Data Breach has caused Plaintiff Barkley to suffer, fear, anxiety, and stress,

which has been compounded by the fact that AT&T has still not fully informed him of key details

about the Data Breach’s occurrence.

        146.    Plaintiff Barkley anticipates spending considerable time on an ongoing basis to

try to mitigate address harms caused by the Data Breach.

        147.    As a result of the Data Breach, Plaintiff Barkley is at the present risk and will

continue to be at increased risk of identity theft and fraud for the rest of his life.

        148.    Plaintiff Barkley has a continuing interest in ensuring that his PII which, on

information and belief, remains backed up in AT&T's possession, is protected and safeguarded

from future breaches.

                                      CLASS ALLEGATIONS

        149.    Plaintiff brings this nationwide class action on behalf of himself and on behalf of

others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of
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Civil Procedure.

         150.   The nationwide class that Plaintiff seeks to represent is defined as follows:

         All United States residents whose PII was impacted by Defendant’s Data
         Breach (the “Class”).

         151.   Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

         152.   Plaintiff reserves the right to modify or amend the definition of the proposed classes

before the Court determines whether certification is appropriate.

         153.   Numerosity, Fed R. Civ. P. 23(a)(1): Class Members are so numerous that joinder

of all members is impracticable. Upon information and belief, there are at least multiple thousands

of individuals who were notified by Defendant of the Data Breach. According to Defendant’s

statement posted on its company website, at least seventy-three million current customers had their

PII compromised in this Data Breach. 48 The identities of Class Members are ascertainable through

Defendant’s records, Class Members’ records, publication notice, self-identification, and other

means.

         154.   Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact



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  See https://www.att.com/support/article/my-account/000101995?bypasscache=1 (last visited
March 31, 2024).
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common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendant had a duty to protect the PII of Plaintiff and

            Class Members;

         b. Whether Defendant had duties not to disclose the PII of Plaintiff and Class Members

            to unauthorized third parties;

         c. Whether Defendant had duties not to use the PII of Plaintiff and Class Members for

            non-business purposes;

         d. Whether Defendant failed to adequately safeguard the PII of Plaintiff and Class

            Members;

         e. Whether and when Defendant actually learned of the Data Breach;

         f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and

            Class Members that their PII had been compromised;

         g. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class

            Members that their PII had been compromised;

         h. Whether Defendant failed to implement and maintain reasonable security procedures

            and practices appropriate to the nature and scope of the information compromised in

            the Data Breach;

         i. Whether Defendant adequately addressed and fixed the vulnerabilities which

            permitted the Data Breach to occur;

         j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to

            safeguard the PII of Plaintiff and Class Members;

         k. Whether Defendant violated the consumer protection statutes invoked herein;
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         l. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or

              nominal damages as a result of Defendant’s wrongful conduct;

         m. Whether Plaintiff and Class Members are entitled to restitution as a result of

              Defendant’s wrongful conduct; and

         n. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the

              imminent and currently ongoing harm faced as a result of the Data Breach.

       155.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their PII compromised as a result of the Data Breach, due to

Defendant’s misfeasance.

       156.    Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

       157.    Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately represent

and protect the interests of the Class Members in that Plaintiff has no disabling conflicts of interest

that would be antagonistic to those of the other Members of the Class. Plaintiff seeks no relief that

is antagonistic or adverse to the Members of the Class and the infringement of the rights and the

damages Plaintiff has suffered are typical of other Class Members. Plaintiff has also retained

counsel experienced in complex class action litigation, and Plaintiff intends to prosecute this action

vigorously.
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       158.    Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): Class litigation is an

appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged herein; it will permit a large number of Class Members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by certain Class

Members, who could not individually afford to litigate a complex claim against large corporations,

like Defendant. Further, even for those Class Members who could afford to litigate such a claim,

it would still be economically impractical and impose a burden on the courts.

       159.    The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

the limited resources of each individual Class Member with superior financial and legal resources;

the costs of individual suits could unreasonably consume the amounts that would be recovered;

proof of a common course of conduct to which Plaintiff was exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

       160.    The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrate that there would be no significant manageability problems with prosecuting
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this lawsuit as a class action.

        161.    Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

        162.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII of Class Members, Defendant may continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and Defendant may continue to act

unlawfully as set forth in this Complaint.

        163.    Further, Defendant has acted or refused to act on grounds generally applicable to

the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

        164.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

             a. Whether Defendant owed a legal duty to Plaintiff and Class Members to exercise

                due care in collecting, storing, using, and safeguarding their PII;

             b. Whether Defendant breached a legal duty to Plaintiff and Class Members to

                exercise due care in collecting, storing, using, and safeguarding their PII;

             c. Whether Defendant failed to comply with its own policies and applicable laws,

                regulations, and industry standards relating to data security;

             d. Whether an implied contract existed between Defendant on the one hand, and

                Plaintiff and Class Members on the other, and the terms of that implied contract;
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           e. Whether Defendant breached the implied contract;

           f. Whether Defendant adequately and accurately informed Plaintiff and Class

               Members that their PII had been compromised;

           g. Whether Defendant failed to implement and maintain reasonable security

               procedures and practices appropriate to the nature and scope of the information

               compromised in the Data Breach;

           h. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing

               to safeguard the PII of Plaintiff and Class Members;

           i. Whether Class Members are entitled to actual, consequential, and/or nominal

               damages, and/or injunctive relief as a result of Defendant’s wrongful conduct.

                                     CAUSES OF ACTION

                                           COUNT I
                                        NEGLIGENCE
                              (On Behalf of Plaintiff and the Class)

       165.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in 1 through 168.

       166.    Plaintiff and the Class entrusted Defendant with their PII.

       167.    Plaintiff and the Class entrusted their PII to Defendant on the premise and with the

understanding that Defendant would safeguard their information, use their PII for business

purposes only, and/or not disclose their PII to unauthorized third parties.

       168.    Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

       169.    Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the PII of Plaintiff and the Class involved an
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unreasonable risk of harm to Plaintiff and the Class, even if the harm occurred through the criminal

acts of a third party.

        170.    Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendant’s security protocols to ensure that the PII of Plaintiff and the Class in Defendant’s

possession was adequately secured and protected.

        171.    Defendant also had a duty to exercise appropriate clearinghouse practices to remove

PII it was no longer required to retain.

        172.    Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the PII of Plaintiff and the Class.

        173.    Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and Plaintiff and the Class. That special relationship

arose because Plaintiff and the Class entrusted Defendant, either directly or indirectly, with their

confidential PII, a necessary part of obtaining services from Defendant.

        174.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.

        175.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

        176.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiff and the Class, the critical importance of providing
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adequate security of that PII, and the necessity for encrypting PII stored on Defendant’s systems.

        177.    Defendant’s own conduct created a foreseeable risk of harm to Plaintiff and the

Class. Defendant’s misconduct included, but was not limited to, its failure to take the steps and

opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct also included

its decisions not to comply with industry standards for the safekeeping of the PII of Plaintiff and

the Class, including basic encryption techniques freely available to Defendant.

        178.    Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendant’s possession.

        179.    Defendant was in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

        180.    Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Class within Defendant’s possession might have been compromised, how it was

compromised, and precisely the types of data that were compromised and when. Such notice was

necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and repair any identity

theft and the fraudulent use of their PII by third parties.

        181.    Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the PII of Plaintiff and the Class.

        182.    Defendant has admitted that the PII of Plaintiff and the Class was wrongfully lost

and disclosed to unauthorized third persons as a result of the Data Breach.

        183.    Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and the Class by failing to implement industry protocols and exercise reasonable care in

protecting and safeguarding the PII of Plaintiff and the Class during the time the PII was within

Defendant’s possession or control.
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       184.    Defendant improperly and inadequately safeguarded the PII of Plaintiff and the

Class in deviation of standard industry rules, regulations, and practices at the time of the Data

Breach.

       185.    Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the PII of Plaintiff and the Class in the face of increased risk of theft.

       186.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and the Class by failing to have appropriate procedures in place to detect and prevent

dissemination of PII.

       187.    Defendant breached its duty to exercise appropriate clearinghouse practices by

failing to remove PII that it was no longer required to retain pursuant to regulations.

       188.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiff and the Class the existence and scope of the Data

Breach.

       189.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Nationwide Class, the PII of Plaintiff and the Class would not have been compromised.

       190.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Class and the harm, or risk of imminent

harm, suffered by Plaintiff and the Nationwide Class. The PII of Plaintiff and the Class was lost

and accessed as the proximate result of Defendant’s failure to exercise reasonable care in

safeguarding such PII by adopting, implementing, and maintaining appropriate security measures.

       191.    Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant, of failing to use reasonable measures to protect PII. The FTC
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publications and orders described above also form part of the basis of Defendant’s duty in this

regard.

          192.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of the immense damages that would result to Plaintiff

and the Class.

          193.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence.

          194.   Plaintiff and the Class are within the class of persons that the FTC Act was intended

to protect.

          195.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of its failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

          196.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) actual identity theft; (ii) the

loss of the opportunity of how their PII is used; (iii) the compromise, publication, and/or theft of

their PII; (iv) out-of-pocket expenses associated with the prevention, detection, and recovery from

identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the present

and continuing consequences of the Data Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi) costs

associated with placing freezes on credit reports; (vii) the continued risk to their PII, which remain
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in Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII of Plaintiff and the Class;

and (viii) present and continuing costs in terms of time, effort, and money that has been and will

be expended to prevent, detect, contest, and repair the impact of the PII compromised as a result

of the Data Breach for the remainder of the lives of Plaintiff and the Class.

          197.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.

          198.   Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued

possession.

          199.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

are entitled to recover actual, consequential, and nominal damages.

                                            COUNT II
                                   Breach Of Implied Contract
                               (On behalf of Plaintiff and the Class)

          200.   Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in 1 through 168.

          201.   The PII of Plaintiff and Class Members, including full names and Social Security

numbers, was provided and entrusted to Defendant.

          202.   Plaintiff and Class Members provided their PII to Defendant, either directly or
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indirectly, through Defendant’s clients, as part of Defendant’s regular business practices.

       203.    Plaintiff and the Class entrusted their PII to Defendant. In doing so, Plaintiff and

the Class entered into implied contracts with Defendant by which Defendant agreed to safeguard

and protect such information, to keep such information secure and confidential, and to timely and

accurately notify Plaintiff and the Class if their data had been breached and compromised or stolen.

As a condition of obtaining services and being employed by Defendant’s clients, Plaintiff and

Class Members provided and entrusted their PII. In so doing, Plaintiff and Class Members entered

into implied contracts with Defendant by which Defendant agreed to safeguard and protect such

information, to keep such information secure and confidential, and to timely and accurately notify

Plaintiff and Class Members if their data had been breached and compromised or stolen.

       204.    A meeting of the minds occurred when Plaintiff and Class Members agreed to, and

did, provide their PII to Defendant and/or Defendant’s clients with the reasonable understanding

that their PII would be adequately protected by any business associates, like Defendant, from

foreseeable threats. This inherent understanding exists independent of any other law or contractual

obligation any time that highly sensitive PII is exchanged as a condition of receiving services. It

is common sense that but for this implicit and/or explicit agreement, Plaintiff and Class Members

would not have provided their PII.

       205.    Defendant separately has contractual obligations arising from and/or supported by

the consumer facing statements in its Privacy Policy.

       206.    Plaintiff and Class Members fully performed their obligations under the implied

contracts with Defendant.

       207.    Defendant breached the implied contracts it made with Plaintiff and Class Members

by failing to safeguard and protect their PII and by failing to provide timely and accurate notice
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that PII was compromised as a result of the Data Breach.

       208.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and Class Members have suffered (and will continue to suffer) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss

and economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of

the compromised data on the dark web; expenses and/or time spent on credit monitoring and

identity theft insurance; time spent scrutinizing bank statements, credit card statements, and credit

reports; expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost

work time; and other economic and non-economic harm.

       209.    As a result of Defendant’s breach of implied contract, Plaintiff and Class Members

are entitled to and demand actual, consequential, and nominal damages.

                                          COUNT III
                                      Unjust Enrichment
                              (On behalf of Plaintiff and the Class)

       210.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in 1 through 168. Notwithstanding, Plaintiff brings this claim in the alternative to any

claim for breach of contractual obligations.

       211.    Defendant benefited from receiving Plaintiff’s and Class Members’ PII by its

ability to retain and use that information for its own benefit. Defendant understood this benefit.

       212.    Defendant enriched itself by saving the costs they reasonably should have expended

on data security measures to secure Plaintiff’s and Class Members’ PII.

       213.    Defendant was also enriched from the value of Plaintiff’s and Class Members’ PII.

PII has independent value as a form of intangible property. Defendant also derives value from this
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information because it allows Defendant to operate its business and generate revenue.

        214.    Instead of providing a reasonable level of security that would have prevented the

Data Breach, Defendant instead calculated to avoid its data security obligations at the expense of

Plaintiff and Class Members by utilizing cheaper, ineffective security measures. Plaintiff and Class

Members, on the other hand, suffered as a direct and proximate result of Defendant’s failure to

provide the requisite security.

        215.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendant failed to implement appropriate data management and security measures that

are mandated by industry standards.

        216.    Defendant acquired the monetary benefit and PII through inequitable means in that

they failed to disclose the inadequate security practices previously alleged.

        217.    If Plaintiff and Class Members knew that Defendant had not secured their PII, they

would not have agreed to provide their PII to Defendant.

        218.    Plaintiff and Class Members have no adequate remedy at law.

        219.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their PII is used; (iii) the compromise, publication, and/or theft

of their PII; (iv) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft, and/or unauthorized use of their PII; (v) lost opportunity costs associated with

effort expended and the loss of productivity addressing and attempting to mitigate the actual and

future consequences of the Data Breach, including but not limited to efforts spent researching how

to prevent, detect, contest, and recover from identity theft; (vi) the continued risk to their PII, which
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remains in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII in their

continued possession and (vii) future costs in terms of time, effort, and money that will be

expended to prevent, detect, contest, and repair the impact of the PII compromised as a result of

the Data Breach for the remainder of the lives of Plaintiff and Class Members.

        220.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        221.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly received from them.

                                          COUNT IV
                                   Breach Of Fiduciary Duty
                              (On Behalf of Plaintiff and the Class)

        222.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in 1 through 168.

        223.    In light of the special relationship between Defendant and Plaintiff and Class

Members, whereby Defendant became guardian of Plaintiff’s and Class Members’ PII, Defendant

became a fiduciary by its undertaking and guardianship of the PII, to act primarily for Plaintiff and

Class Members, (1) for the safeguarding of Plaintiff’s and Class Members’ PII; (2) to timely notify

Plaintiff and Class Members of the Data Breach and disclosure; and (3) to maintain complete and

accurate records of what information (and where) Defendant did and does store.

        224.    Defendant has a fiduciary duty to act for the benefit of Plaintiff and Class Members

upon matters within the scope of Defendant’s relationship with its customers, in particular, to keep

secure their PII.

        225.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing
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to diligently discover, investigate, and give notice of the Data Breach in a reasonable and

practicable period.

        226.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to encrypt or otherwise protect the integrity of the systems containing Plaintiff’s and Class

Members’ PII.

        227.    Defendant breached its fiduciary duties owed to Plaintiff and Class Members by

failing to timely notify and/or warn Plaintiff and Class Members of the Data Breach.

        228.    Defendant breached its fiduciary duties to Plaintiff and Class Members by

otherwise failing to safeguard Plaintiff’s and Class Members’ PII.

        229.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer injury, including but not

limited to: (i) actual identity theft; (ii) the compromise, publication, and/or theft of their PII; (iii)

out-of-pocket expenses associated with the prevention, detection, and recovery from identity theft

and/or unauthorized use of their PII; (iv) lost opportunity costs associated with effort expended

and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of the Data Breach, including but not limited to efforts spent researching how to

prevent, detect, contest, and recover from identity theft; (v) the continued risk to their PII, which

remains in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued

possession; (vi) future costs in terms of time, effort, and money that will be expended as result of

the Data Breach for the remainder of the lives of Plaintiff and Class Members; and (vii) the

diminished value of Defendant’s services they received.

        230.    As a direct and proximate result of Defendant’s breach of its fiduciary duties,
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Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and economic and non-economic losses.

                                        COUNT IV
               Breach of the Implied Covenant of Good Faith and Fair Dealing
                            (On Behalf of Plaintiff and the Class)

       231.    Plaintiff re-allege and incorporate by reference herein all of the allegations

contained in 1 through 168.

       232.    Every contract in this state has an implied covenant of good faith and fair dealing.

This implied covenant is an independent duty and may be breached even when there is no breach

of a contract’s actual and/or express terms.

       233.    Plaintiff and Class Members have complied with and performed all conditions of

their contracts with Defendant.

       234.    Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard Plaintiff’s and

Class Members’ PII, failing to timely and accurately disclose the Data Breach to Plaintiff and Class

Members and continued acceptance of PII and storage of other personal information after

Defendant knew, or should have known, of the security vulnerabilities of the systems that were

exploited in the Data Breach.

       235.    Defendant acted in bad faith and/or with malicious motive in denying Plaintiff and

Class Members the full benefit of their bargains as originally intended by the parties, thereby

causing them injury in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Matthew Barley, on behalf of himself and Class Members,

requests judgment against Defendant and that the Court grant the following:
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   A.     For an Order certifying the Classes, and appointing Plaintiff and his Counsel to

          represent the Class;

   B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

          complained of herein pertaining to the misuse and/or disclosure of the PII of

          Plaintiff and Class Members, and from refusing to issue prompt, complete, any

          accurate disclosures to Plaintiff and Class Members;

   C.     For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

          and other equitable relief as is necessary to protect the interests of Plaintiff and

          Class Members, including but not limited to an order:

          i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

               described herein;

         ii.   requiring Defendant to protect, including through encryption, all data collected

               through the course of its business in accordance with all applicable regulations,

               industry standards, and federal, state, or local laws;

        iii.   requiring Defendant to delete, destroy, and purge the PII of Plaintiff and Class

               Members unless Defendant can provide to the Court reasonable justification for

               the retention and use of such information when weighed against the privacy

               interests of Plaintiff and Class Members;

        iv.    requiring Defendant to implement and maintain a comprehensive Information

               Security Program designed to protect the confidentiality and integrity of the PII

               of Plaintiff and Class Members;

         v.    prohibiting Defendant from maintaining the PII of Plaintiff and Class Members

               on a cloud-based database;
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       vi.    requiring   Defendant      to    engage    independent     third-party   security

              auditors/penetration testers as well as internal security personnel to conduct

              testing, including simulated attacks, penetration tests, and audits on

              Defendant’s systems on a periodic basis, and ordering Defendant to promptly

              correct any problems or issues detected by such third-party security auditors;

       vii.   requiring Defendant to engage independent third-party security auditors and

              internal personnel to run automated security monitoring;

      viii.   requiring Defendant to audit, test, and train its security personnel regarding any

              new or modified procedures;

       ix.    requiring Defendant to segment data by, among other things, creating firewalls

              and access controls so that if one area of Defendant’s network is compromised,

              hackers cannot gain access to other portions of Defendant’s systems;

        x.    requiring Defendant to conduct regular database scanning and securing checks;

       xi.    requiring Defendant to establish an information security training program that

              includes at least annual information security training for all employees, with

              additional training to be provided as appropriate based upon the employees’

              respective responsibilities with handling PII, as well as protecting the PII of

              Plaintiff and Class Members;

       xii.   requiring Defendant to routinely and continually conduct internal training and

              education, and on an annual basis to inform internal security personnel how to

              identify and contain a breach when it occurs and what to do in response to a

              breach;

      xiii.   requiring Defendant to implement a system of tests to assess its respective
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               employees’ knowledge of the education programs discussed in the preceding

               subparagraphs, as well as randomly and periodically testing employees’

               compliance with Defendant’s policies, programs, and systems for protecting

               personal identifying information;

        xiv.   requiring Defendant to implement, maintain, regularly review, and revise as

               necessary a threat management program designed to appropriately monitor

               Defendant’s information networks for threats, both internal and external, and

               assess whether monitoring tools are appropriately configured, tested, and

               updated;

        xv.    requiring Defendant to meaningfully educate all Class Members about the

               threats that they face as a result of the loss of their confidential personal

               identifying information to third parties, as well as the steps affected individuals

               must take to protect themselves;

        xvi.   requiring Defendant to implement logging and monitoring programs sufficient

               to track traffic to and from Defendant’s servers; and for a period of 10 years,

               appointing a qualified and independent third party assessor to conduct a SOC 2

               Type 2 attestation on an annual basis to evaluate Defendant’s compliance with

               the terms of the Court’s final judgment, to provide such report to the Court and

               to counsel for the class, and to report any deficiencies with compliance of the

               Court’s final judgment;

   D.      For an award of damages, including, but not limited to, actual, consequential, and

           nominal damages, as allowed by law in an amount to be determined;

   E.      For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;
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      F.     For prejudgment interest on all amounts awarded; and

      G.     Such other and further relief as this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demands that this matter be tried before a jury.



Date: April 1, 2024                         Respectfully Submitted,


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                                            Counsel for Plaintiff and the Putative Class




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